
|,ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.*
Respondent pled guilty to two criminal offenses, one involving assault and the *170other involving DWI. Prior to the institution of formal charges, respondent and the Office of Disciplinary Counsel (“ODC”) submitted a joint petition for consent discipline, in which the parties stipulated respondent has violated Rule 8.4(b) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Jay Nolen, Louisiana Bar Roll number 10019, be suspended from the practice of law for a period of one year and one day. This suspension shall be deferred in its entirety, subject to respondent’s successful completion of a five-year period of probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid. JOHNSON, J., dissents and assigns reasons. GUIDRY, J., dissents.

 Chief Justice Kimball not participating in the opinion.

